Case 13. 30014: MG ‘Doc. 1 Filed 09/12/13 Entered : of 2/13 11 26: SO Desc

“Voluntary Petition -

BA (Official Form 1) aus, :

“Page: A of 9

United States ws Bankraptey Court

District of New Jersey, Trenton Division

Name of Debtor (if individeal. emer Last, First. Middie):
PURETZ, AARON, Miedte

Name of Joint Dekor Spee) Y(Last, Fis. Middley:

AIL Other Names Used by ihe Debtor in the fast 8 years
Gelade mazried, maiden, and trade vanes}:

“All Other Names Used by ibe J Joint Debtor in the last 8 Yeas

(include married, maiden, and iaide nantes}

Last four digits of Soc. Sve. or individual-Taxpa 2riD. THN) NofCaniplese EIN,
tif more than one. state ally: spagriP .

Last four digs © oF Soe. Seo. or individual “Taxpayer LD, oT No./Complete EIN
(if mare than one, sue all): ‘

Strvet Address of Debtor (No. and Street, City anil Sta):
128 MELVIILE AVE

LAKEWCOB, Ni

Street Address of fotnt Debior (No. aun! Steet, City, and State}: /

-—

County of Residence or of the Principal Piace of Business:
OCEAN” H

‘Tosi

County of Residence or of the Principal Ploce of Busingss:

Mailing Address of Debtor é if GFferent, from: street address):

390 BARTLETT AVE.
STAEN ISLAND NY 10342

Mailing Address of Joint Debtor’ diffirene freien stecet sekdec$s): .

—

Location of Principal Assets of Business Debtor (if different front street addrdss above):

—

‘Tepe of Debtor Nature af Business ” Chuipter ‘at Bankruptey Code Under Which
(Forms of Organization) . (Check one box.) thé Petition is Filed | (Check one box}
{Check one box.) CI Health Care Business chapter? C2). Chapter 15 Petition for
BA individual Gnetudes Joint Debtors) [J] Sirigle Assot Real Estate as defined in OO chaptery Recognition of a Foreign
See Exhibit B on page 2 of this form. NUS. § WH 7B) C] Chapt!) ° Main Proceeding
{J Corpirution (includes LLC and LLP! [J Railroad EI) Chaper!2 5} chanor 18 Pes
CF Partnership o Stockbroker BY Chapter 13. Chapter 15 Petition for
£2] Other (IF debtor is not one of the above entities, CE] Commodity Broker Recognition of a Foreign
cheek this box and state type of entity below} Clearing Bank Nonsniin Proceetting
Other Natune of Debts
: . 7° (Check one box.)
Chapter 15 Debtors Tax-Exempt Entity C1 Dehis are primarily sansnmer Debis an primarily
Country of debtor's center of main interests: - (Check box. if applicable.) debis, defined in 14 U.S.C. business debs.
~ EJ Debtor isa taxexempt onianization ea Neat sea a 2
EX s iAH YOU man OT &
a een cairn oeeeecing by, ander Title 26 of the United States personal. family, or house:
Code (the intemal Revenue Code}, held purpose.

’ Filing Fee (Check one box.)
Full Filing Fee attached

Q

Filing Fee 10 be paid in installments (Applicable to individuals only) :
Must attach signed application for che court's consideration certifying that the debtor is

unable 1) pay fee except in instalimeals. Rute LOG6(b). See Official Form 3A.

Filing Fee waiver requested (Applicable to chapter 7 individuals only}. Must attach
signed application for the court's consideration. See Official Form 3B.

~ Check one box: a

. ‘Chapter 11 Debtors ©

[7] Debtor is a small business debtos ag defined in 11 ULS.C. § 10K(51D)

EC] Debtor is not a smal] business debtor as detined in in ul us §.C. § 101(5 ED)

Check if: oo

1 Debtors aggregate nondontiiigent Niquidated dehts s (excluding debts awned to
insiders os affiliates) an: less than $2,490.925 (amount subject to adjustment
on 4401/16 and every three years thereafter).

Check all applicable boxes:
(2) A plan is being filed with this petition.
Acceplances of the plan were solicited prepetition franyOne or more classes,

(1) bebtor estinwres that, alter any exempt property is excluded and administrtive
expenses paid, there will be no funds available for disteibution to unsecured creditors.
‘.

of creditors, in avcardarice with 1 Uh8.0. & EF26(b). Go
Staitsticul/ Administrative Information : ‘ r THIS SPACE 1S FOR
Debtor estimates that funds will be available for distribulion to unsecured creditors. coukt. Use ONLY

inated Nuanber of Creditors
ci Oo O C} 0 |
- “50+ 106. 200- 1,000- 5.001- 10.001~ 25,001-
ag = a9 199 909 5.000 10,000 25.000 50.00)
Estimated Assets
Oo oC O oO C Cj
$0 ta $50,001 to $100,001 to $560.00] $4,000,003 $10,000,001 $50,000,00! = $300,000,081 0.001 ore thar: o
$50,000 100,000 $500,000 1031 te S30 10 $50 to #00 co $500 ot ilien $1 billion
million inion million milion, million .
Estimated Liabiliges !
i. Oo CQ a. .
30 to $70.001 lo $100,001 to $500,001 $1 000,007 $106,00
350,000 100,000 $500,000 to S$] to 310 40 $50 . -
million saillion milion © C@8@ Ft 13-30014~+131
Debtor.: AARON PURETZ ire

Chapter: +131

Filed : September 12, 2013 11:31:12
Deputy : LINDA BRAKEL

Receipt: 613202

Amount : $25.90

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voluntary Petition Page 2 of 39.

B1 (Official Form £) (04/13) oo, Doe Page 2
Name of Debtor(s: Weg Sats

Yoluntary Petition
(This page must be completed: and l filed § in every case)

Lecalion Case Nurnber: : Date Filed: .
Where Filed: 7
Location . Case Number: : Date Filed:

Name of Debtor: . Case Number: , Date Fil
District: Relationship: : oo | dudge: --
Exhibit A . . o> + Exhibit B-
{To be cémpléted if debtor is an individual
(To be completed if debtor is required to file periodic reports (t.g,.. forms whose debts are primarily consurter debts.)

10K and 10Q) with the Securities and Exchange Conunission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting
relief under chapter § 1.)

L the altomey forthe petitioner named in the foregoing petition, declare that L

have informed the petitioner that [he or she] may proceed under chapler 7, LT.
12, of 13 of lide IL, United States Code, and have explained the relief

available under each such chapter: # further cantily | that 1 delivered to the

debtor the notice required by 1 U: 5. c. 33 3426).

EJ Exhibit A is attached and made a part of this petition. :

Date

Exhibit C
Does the debtor own or have porsession of any property that poses or ts alleged (0 pose a threat of imminent and identifiable harm to public health or safety?
E] Yes, and Exhibit C is atacked and made a part of this petition. Uo

C] Ne

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, cach spouse mast complete and attach a separate Exhibit B.)
(1 exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition;
(1 Exhibit D also completed and signed by the joint debtor is attached and myvcle a pact of this petition,

Informnation Regarding the Debter - Venue
(Check any applicable bax.)
CF Debtor has been domiciled or has had a residence, pancipal place of business, ar principal assets in this District tor t80 days immediately
preceding the date of this petition or fora Jonger part of such 180 days than in any other EXstrict.

{J There is a bankruptcy case conceming debtors affiliate, general partner. or partnership pending in this District.

O Debtor is a debtor In 2 foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
pr has oo principal place of business or assets in che United States bet is a defendant in ani action or proceeding {in a federal or state court] in
Bus Phstrict. or the interests of the parties will be served in regard co che rejief sought in this District.

Certification by a Debtor Who Resides as 2 Tenant of Residential Penperty
(Check all applicable boxes.) :

CF Landiond Ins a judgment against the debtor for possession of debtor's residence. (If box checked, coinpiete the following.)

(Name of landlord that cbiained judgment)

{Address of landlord)

(1 Debtor claims that under applicable nonbankruptcy law, there ane circumstances under which the debtor would be permitted to cure ihe
entire monetary default that gave rise to the judgment yor possession, afier the judgement for possession was entered, and

(1) Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period alter the
filing of the petition.
{J Debtor certifies that he/she has served the Landlord with this verification. (11 U.S.C. § 362(1)},

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BL (Official Form 1) (04/13) -

Page 3

Voluntary Petition
(This page must be completed and filed in every case)

Signature(s) of Debtor(s) (Individual/Joint)
{ declare under penalty of perjury thal dhe information provided in this petition
is (rue and correet. . :
{If petitioner is un individual whose debis are primarily consumer debts and has
chosen to file under Chapter 7] 1 am aware that ] may proceed under chapter 7.
11, [2 or 13 of title 11. United States Code, understand the relief available ander
each such chapter, and choose to proceed under chapter 7.
[lf ro aitomey represents me and no bankrupicy petition preparer signs ine
petition] f bave obtained and gead the notice required by § 342(b) of the
Bankreptey Code.

E request relief in accordug japter of titie Li, United Stes Code,

specified in this petition.

Xx

Narne of Debtor(s):

Sighature of a Foreign Representative

I deciare under penalty of perjury that the infornstion provided in this petition
is ue and correct, that [am the foreign representative of a debtor in a foreign
proceeding, and that I am autharized to file this petition.

(Check only one box.)

CE request relief in aecondance with chapter 15 of titte E, United States
Code. Certified copies of the documents required by § 1515 of title 1 are
attached,

(2) Porsuaat tc § i511 of lide it, United Staes Code, ¢ request relief in accordance
with the chapter of tile 11 specifted in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

Signature of Attorney

Primed Namve of Attorney for Debtors}

x
Signawre of Debtor : (Signature of Forsign Representative}
x
Signature of Joint Debtor
(Printed Name of Foreign Representative)
Telephone Number (If net represented by attemey) : :
09/11/2013 Date
Date .
Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
x 7 declare under penalty of perjury chat: (1) Tam a bankruptcy petition preparer

as defined in {1 U.S.C. 110; (2) E prepared this decument for compensation

and have provided the debror with a copy of this document and the notice and
information required ander 11 T.5.C. 120(b), 11) 0(h), and 342(b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 USC. 1100) setting
a maximum fee for services chargeable by bankruptcy petition prepares, | have
given the debtor notice of the maxiaiun amount before preparing any document

The debtor requests setief in acvordance with the chapter of title 14,
United States Code. specified in this petition.

Signature of Authorized Individual

Printed Name of Authorized Individual

Title of Authorized individual

Date

Fiem Name
for filing for a debtor or actepting any fee from the debtor, as requited in that
section. Official Form [9B is altached,
Address
Printed Name and tide, if any, of Bankcuptcy Petition Preparer
Social Security number (If the bankruptcy petition preparer is act an individual,
Telephone Number state the Social Security number of thé aflicer. principal, responsible person or
partner of the bankrupicy petition prepares (Required by 11 U.S.C. § HO)
Dae
* Ina case in which § 707(b)(4)(12) applies, this signature also constitutes a Address
certification that the attomey has no knowledge aller an inquiry thal the information "
in the schedules is incorrect.
Signature of Debtor (Corporation/Partnership)
x
1 declare under penalty of perjury that the information provided ir: this
pelition is true and correct, and that | have been authorized to Fite diis
petilion on behalf af che debtor. :
Dae

Signature of Bankrupicy Petition Preparer or officer, principal, msponsible
person, or partner whose soci security number is provided above.

Names and Sacial Security numbers of all other individuals who
prepared or assisted in preparing this document unless the bankruptcy petition:
preparer is not an individual.

If more than one person prepared this document. altach udditional sheets
conforming to the appropriate official form for each persor.

A bankruptcy petition pruparer's failure 10 comply with the provisions
of tite 11 and the Federal Rules of Bankruptcy Procedan: may result
in fines or imprisionment or both 11 U.S.C. § 10: 18 U.S.C. § 156,

areneewcty
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B 1D (Official Form 1, Exhibit D)(12/095

UNITED STATES BANKRUPTCY COURT

District of New Jersey, Trenton Division

In Re: Case No.

Debtor : - Gf known)

EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and yeu may have to take extra steps to stop creditors‘
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

CJ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but {do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided tc you and a copy of any debt repayment plan developed through th the agency
no later than 14 days after your bankruptcy case is filed.

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6 LD (Official Form 1, Exh, D)(12/09) - Cont.

C] 3. {certify that I requested credit counseling services from an approved agency but was
unable to obtain the services during the five days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here. ]

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 after you file your bankruptcy petition and —
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension ef the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
‘without first receiving a credit counseling briefing.

[1 4. 1am not required to receive a credit counseling briefing because of: [Check the
applicable statement. ]{Must be accompanied by a motion for determination by the court.]

0 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities. );

{] Disability. (Defined in 11 U.S.C. § 109(h)\(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate ina credit counseling
briefing in person, by telephone, or through the Internet); > -

Ff] Active military duty in a military combat zone.

[} 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information previded above is true and
correct,

Signature of Debtor
Date: OO/LIPO13

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B6 Summary (Gfficial Form 6 - Summary) (12/07)

UNITED STATES BANKRUPTCY COURT

District of New Jersey, Trenton Division

In Re: : Case No.

Debtor mo, Gif known)
Chapter oe 7B

SUMMARY OF SCHEDULES |

indicate as to each schedule whether that schedule is attached and state the number of pages in cach. Report the totals fram Schedules A, B, D, E. FB 1,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from D, E, and F to determine the total amount of the debtor's liabilities. Individaal debtors must also complete the "Statistical

Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13, ,

NAME OF SCHEDULE ATTACHED NO. OF SHEETS |. ASSETS LIABILITIES OTHER
(YES/NO)
A- Real Property
me Yes . I
B - Personal Property
me Yes 3
C - Property Claimed i
as Exempt Yes
D - Creditors Holding i
Secured Claims Yes
E - Creditors Holding Unsecured
Lo : Yes 2
Priority Claims
F - Creditors Holding Unsecured 1
Nonpriority Claims Yes
G - Executory Contracts and
Ui i Yes !
nexpired Leases
8 - Codebtors
Yes ]
I - Current Incame of I
Individual Debtor(s) Yes
J - Current Expenditures of
Individual Debtor(s) Yes i
TOTAL

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Form 6 - Statistical Summary (12/07}

UNITED STATES BANKRUPTCY COURT

District of New Jersey, Trenton Division

In Re: Case No.

Debtor (if known)
Chapter 13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C, § 159)

If you are an individual debtor whose debts are primarily consumec debts, as defined in § 101(8} of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 1! or 13, you must report all information requested below.

Tj Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information bere.

This tnformation is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

Type of Liahility Amount
Domestic Support Obligations (irom Schedule E)

Taxes and Certain Other Debts Owed to Governmental Units
{from Schedule E)(whether disputed or undisputed)

Claims for Death or Personal Injacy While Debtor Was
Imoxicated (from Schedule FE}

Student loan Obligations (from Schedule F}

Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

Obtigations to Pension or Profit-Sharing, and Other Similar
Obtigations (from Schedule F)

TOTAL

State the follawing:

Average Income (from Schedule I, Line 16) 0.00)

Average Expenses (from Schedule J, Line 18} 0.00)

Current Monthly Income (from Form 224 Line 12; OR, Farm
22B Line Ef; OR, Form 22C Line 20) 0.00

State the following:

1. Total from Schedule D, “UNSECURED PORTION, IF
ANY" COLUMN ee : $232,824.00

2. Total from Schedule F, "AMOUNT ENTITLED TO
PRIORITY" column.

3. Total from Schedule E, "AMOUNT NOT ENTYFLED TO
PRIORITY. IF ANY" coiumn.

4. Total from Schedule F
5. Total of non-priority unsecured debt (sum of 1, 3. and 4) eae a Be cee $232824.00)

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Case No.

In Re:
Debtor (if known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property. or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband. wife, or both own the property by placing an "H","W", "J", or "C” in the
column labeled "Husband, Wife, Joint or Community", [f the debtor holds no interest in real property, write "None" under "Description and Location

of Property".

Do not inctude interests in executery contracts and unexpired feases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims

to hold a secured interest in the property, write "None" in the column tabeled "Amount of Secured Claim".

if the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.
2
3
2
Be
Ze Current Value of
<j =| Debtor's interest in
& &] Property Without
Nature of Debtor's G| Deducting Any Secured Amount of
Interest in Properly = 5| Claim or Exemption Secured Claim

Description and Location of Property

390BARTLETT AVE
STAEN ISLAND NY 10312

Total $0.00

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Offictal Form 6B (12/07)
In Re: Case No.
Debtor (if known}

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list al} personal property of the debtor of whatever kind. [fthe debtor has no property in one or more of the calegories.
place an "X" in the appropriate position in the column labeled “None”. If additional space is needed in any category, attach a separate sheet properly
identified with the same case name, case number, and the number of the category. H the debtor is married, state whether husband, wife, or both own the
property by placing an “H", "W", "I", or “C" in the column labeled "Husband, Wife, Joint or Community”. if the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executery contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state the person's name and address under "Description and Location of Property”.
If the property is being held for a minor child, simply state the child's initials and the nume and address of the child's parent or guardian, such as
“A.B., a minor child, by Jobn Doe, guardian.” Do not disclose the child's name. See, If U.S.C. § 112 and Fed. R. Bankr. P 1007¢m).

z

3

@ Pp

se Current Value of

<j =| Debtor's Interest in

© &| Property Without

26 Deducting Any Secured
‘Type of Property None | Description and Location of Property = 8] Claim or Exemption
[. Cash on hand. x
2. Checking, savings or other financial x

accounts, CD's, or shares in banks, savings
and loan, thrift, building and loan, and
homestead associations, or credit unions,
brokerage houses or cooperatives.

3. Security deposits with public utilities, XxX
telephone companies, landlords, and others.

4, Household goods and furnishings, including x
audio, video, and computer equipment.

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Official Form 6B (12/07)
In Re: Case No.
Debtor Gf known)
€
3
gz
BE Current Value of
“3 E| Debtor's Interest in
5 & Property Without
ZU] Deducting Any Secured
Type of Property None | Description and Location of Property S| Claim or Exemption
5, Books, pictures and other art objects, x

antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.

6. Wearing apparel. xo
7. Furs and jewelry. xX
8. Firearms and sports, photographic, and XK

other hobby equipment.

9, Interests in insurance policies. Name X
insurance company of each policy and itemize
surrender or refund value of each,

10. Annuities. Itemize and name each issuer. x

11, Interests in an education IRA as defined in x
26 U.S.C. § 530(b)(1} or under a qualified State
tuition plan as defined in 26 U.S.C. § 529(b}(1).
Give particulars,

12. Interest in IRA, BRISA, Keogh, or ofher x
pension or profit sharing plans. Give particulars.

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Official Form 6B (12/07)
In Re: Case No.
Debtor Gif known)
z
2
ay
z= Current Value of
<j E| Debtor's Interest in
5 &| Property Without
BO Deducting Any Secured
Type of Property None | Description and Location of Property = S| Claim or Exemption
13. Stock and interests in incorporated and xX

unincorporated businesses. Itemize.

14. Interests in partnerships or joint xX
ventures. Itemize. .

15. Government and corporate bonds and other K
negotiable and non-negotiable instruments.

16, Accounts receivable. xX

17, Alimony, maintenance, support, and x
property settlements te which the debtor is or
may be entitled. Give particulars.

18. Other liquidated debts owing debtor x
including tax refunds. Give particulars.

19. Equitable or future interest, life estates, and xX
rights or powers exercisable for the benefit of
the debtor other than those listed in Schedule A
- Real Property.

20. Contingent and noncontingent interests in xX
real estate of a decendent, death benefit plan,
life insurance policy, or trust.

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Official Form 6B (12/07)
In Re: . Case No.
Debtor : (if known)
z
=
#2
= "E| Current Value of
vj EL Debtor's Interest in
5 & Property Without
ZO} Deducting Any Secured
4 g Any
Type of Property None | Description and Location of Property = 5] Claim or Exemption
21. Other contingent or unliquidated claims of “x

every nature, including tax refunds, counter-
claims of the debtor, and rights to setoff claims.
Give estimated value of each.

22. Patents, copyrights, and other intellectual Xx
property, Give particulars.

23. Licenses, franchises, and other general x
intangibles. Give particulars.

24, Customer lists or other compilations contain- x
ing personally identifiable information provided
to the debtor by individuals in connection with
obtaining a product or service from the debtor pri-
marily for personal, family, or household purposes.

25. Automobiles, trucks, trailers, and other x

vehicles and accessories.

26. Boats, motors, and accessories. xX

27. Aircraft and accessories, x

28. Office equipment, furnishings, and supplies. x

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Official Form GB (12/07)
In Re: Case No.
Debtor (if known)

=e
z
2
Ze Current Value of
<j E} Debtor's Interest in
5 & Property Without
ZO} Deducting Any Secured

Type of Property Pescription and Location of Property TS} Claim or Exemption

29. Machinery. fixtures, equipment, and
supplies used in business.

30. Inventory.

31. Animals.

32. Crops - growing or harvested. Give

particutars.

33. Farming equipment and implements.

34, Farm supplies, chemicals, and feed.

35. Other personal property of any kind not
already listed. Itemize.

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B6C (Official Form 6C) (64/13)

In Re: Case No.
Debtor (if known)
SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under: [7] Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675.*

Ch 11 U.S.c. § 522(b)(2)
CY} 11 u.S.c. $ 5220p.)

Current Value of
oe . Specify Law Providing Value of Claimed Property Without
Description of Property Each Exemption Exemption Deducting Exemption

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Official Form 6D (12/07)

In Re: Case No,
Debtor Gf known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of the filing of the petition, The complete account number of any account the debtor has with the creditor is sefisl
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, ard other security interests.

List creditors in alphabetical order to the extent practicable. If a minor chitd is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian,” Do not disclose the child's name. See, 11 U.S.C. $112
and Fed. BR. Bankr. P. 1007(m). If all secured creditors will nos fit on this page. use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly Hable on a claim, place an "X" in the column labeled "Codebtor", include the
entity on the appropriate schedule of creditors, and complete Schedute H - Codebtors. Ifa joint petition is fited, state whether husband, wife,
both of them, or the marital community may be liable an cach claim by placing an "H", "W", "J", or “C" in the column labeled "Husband. Wife,

Joint, or Community".

If the claim is contingent, place an "X" in the colunin labeled "Contingent". Ef the claim is unliquidated, place an "X" in the column
jabeled "Unliquidated.” Hf the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an “X" in more than one of
these three columns.)

Total the columns Jabeled “Amount of Claim Without Deducting Value of Collateral” and "Unsecured Portion, if Any” in the boxes
labeted "Total(s)" on the last sheet of the completed schedule, Report the total from the column labeled "Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
jabeled “Unsecured Portion. if Any" on the Statistical Summary of Certain Liabilities and Related Data.

[1] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

2
2
@ 2
2 | 3
5] z 5 Date Claim was Incurred, & S| 3] Amount of
‘S| & | Nature of Lien, and Description! -2] 5} B| Claim Without
Creditor's Name and Mailing Address 3 2° and Value of Property 3 5 za Deducting Unsecured
Including Zip Code Ul © % subject to Lien ve Value of Collateral] Portion, If Any
Account Number: 0631582244 TBD 732824.00
WELLS FARGO BANK
FRENKEL LAMBERT WEISS
53 GIBSON STREET
BAYSHORE NY 15706 VALUE $
Account Number:
VALUE $
Account Number:
VALUE $
Subtotal i
(Total of this page) $0.00 $232,824.00 i
Total
(Use only on fast page) $232,824.00
(Report also on (Hf applicable, report
Serimary of alse on Statistical
Scheduies.) Summary of Certain
Liabilities and Related
Dats.)

Q continuation sheets attached

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B6E (Official Form 6E (04/13)
in Re: Case No.

Bebtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entided to priority, listed separately by type of priority, és to be set forth on the sheets provided. Only holders of
unsecured claims entitied to priority should he listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address.
including zip code, and Jast four digits of the account number, if any, of all entitires holding priority claims against the debtor of the property of the
debtor. as of the date of the filing of this petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. [fa minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
“A.B. a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § L£2 and Fed. R. Bankr. P, [007({m).

if any entity other than a spouse in a joint case may be jointly Hable on a claim, place an "X" in the column labeled "Codebror’, include the
emlity on the appropriate schedule of creditors, and complete Schedule H-Codebtors, Ifa joint petition is filed, state whether husband, wife, both
of them. or the marital community may be liable on each claim by placing an “H", "W", "J". or “C" in the column labeled "Husband, Wife, Joint, or
Community.” If the claim is contingent, place an "X" in the column labeled “Contingent”. If the claim is untiquidated, place an "X" in the column
fabeled “Unliquidated”. If the claim is disputed, place an "X" in the column labeled “Disputed”. (You may need to place an “X” in more than one of
these three columms.) .

Report the total of claims listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all claims listed on this Schedule
E in the box fabeled "Total" on the Jast sheet of the completed schedule. Report this total atso on the Summary of Schedules.

Report the totat of amounts entiled to priority listed on each sheet in the box Labeled “Subtotals” on cach sheet. Report the total of all amounts

entitled to priority Jisted on this Schedule & ia the box labeled “Totals” on the last sheet of the completed scheduie. Individual debtors with
primarily consumer debts who fife a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related

Data.

Report the total of amounts not entitled to priority Jisted on each sheet in the box labeled "Subtotals" on each sheet. Report the totai of all
amounts not entitled (o priority listed on this Schedule & in the box labeled “Totais" on the last sheet of the completed schedule. Individual debtors
with primarily conusmer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related

Data.

Check this box ifdebtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS = (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[] Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse. former spouse, or child of the debtor, or the parent, Jegal guardian,
or responsible relative of such a child. or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in

1) U.S.C. § 507(aM1).

(] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or nancial affairs after the commencement of the case but before the earlier of
the appointment ofa trustee or the order for relief. 11 U.S.C. § 507(a)(3).

Ct} Wages, salaries, and commissions

Wages. salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing lo qualifying
independent sales representatives up to $f2,475* per person carned within [80 days immediately preceding the filing of the original petition, or
the cessation of business. whichever occured first, to the extend provided in 14 U.S.C. § 507(a)(4).

{_] Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the Ailing of (be original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a}{(5).

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B6E (Official Form 6E (04/13)

In Re: Case No.

Desc

Debtor ~ Gfknown)

C) Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $6,150* per farmer of fisherman, against the debtor, as provided in 11 U.S.C. § 507(aX6}.

[] Deposits by individuals

Claims of individuals up to $2,775* deposits tor the purchase, case, or renial of property or services for personai, family, or househoid use,
that were not delivered or provided. 11 U.S.C. § 507(a\(7).

(1 Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in LE U.S.C. § 507(a)(8).

[] Commitments te Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTR, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution, 11
USC. § 507019).

(1 Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting trom the operation of a motor vehicle or vessel while the debtor was imioxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(aX 10).

* Amounts are subject to adjustment on 04/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

0 continuation sheets attached

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Official Form 6F (12/07)

In Re: Case No.

Debtor Gif known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holdiag unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account namber of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian. such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 17 U.5.C. § 112 and Fed.
R. Bankr. P. 1007(m). Do nor include claims listed in Schedules D and E. If all creditors will not fit on this page. use the continuation sheet provided.

ifany entity other than a spouse in a joint case may be jointly fiable on a claim, place an "X" in the column labeled "Codebtor”, tnclude the entity on the
appropriate schedule of creditors, and contplete Schedule H - Codehtors. [fa joint petition is fited, state whether husband, wife, both of them. or the marital
community may be liable on each claim by placing an “H"."W". "J", or "C" in the colunin labeled “Husband. Wife, Joint, or Community”.

If the claim is contingent, place on '"X" in the column labeled "Contingent". [the claim is wnliquidateg, place an "X" in the column labeled "Unliquidated".
If the claim is disputed. place an "XX" in the column labeled "Disputed". (You may need to place an "X” in more than one of these three columns.)

Report the total of al] claims listed on this schedule in the box Jabeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and. if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical

Summary of Certain Liabilities and Related Data.

(] Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

z
a
2
2 >
= 5 | 2
Creditor's Name and Mailing Address ts| of &f Date Claim was Incurred and 3} SI og
Including Zip Code, 3 3 §| Consideration for Claim. If Claim is |} 3] =
and Account Number "S| “4 O] Subject to Setoff, so State. 5) =]
~ QZ
Opts O| 9] OY) Amount of Claim
Account Number:
Account Number:
Account Number:
Account Number:
Subtotal
$0.00
0 continuation shevts attached Total
— (Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

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Official Form 6G (12/07)
In Re:

Debtor

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Case No.

(if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. [Include any timeshare
interests. State nature of debtor's interest in contract, Le. “Purchaser”, “Agent', etc. State wheiher debtor is the lessor or

lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. if
a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B.. 2 minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and

Fed. R. Bankr. P. 1007(m).

(] Cheek this box if debtor has no executory contracts or unexpired leases.

Name and Mailing Address, Including Zip Code,
of Other Parties to Lease or Contract

Description of Contract or Lease and Nature of Debtor's
Interest. State Whether Lease is for Nonresidential Real
Property. State Contract Number of Any Government
Contract

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Official Form 6H (12/07)
Tn Re: Case No.

Debtor Gif known)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity. other than a spouse ina joint case, that is also liable on any debts listed by
debtor in the schedules of creditors. Include all guarantors and co-signers. If (he debtor resides or resided in a community properly stale,
commonwealth,or territary (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealih. or teriory. Include al] names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. Ifa minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B.. a minor child, by John Doe, guardian.” Do not disclose the
child's name. See, 11 U.5.C. § 112 and Fed. R. Bankr P 1O007(m),

(] Check this box if debtor has no codebtors.

Name and Mailing Address of Codebtor Name and Mailing Address of Creditor

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In Re: , Case No.

Debtor , , Gif known)

DECLARATION CONCERNING DEBTOR(S) SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDU

I dectare under penalty of perjury that { have read the foregoing summary and schedules, consisting of sh
summary page plus 2), and that they are true and correct to the best of my knowledge. information, and beli¢f.

09/11/2013 * A

Date Siam Jf Debtor
09/11/2013

Date Signature of Joint Debtor

ok ok de ok oe

DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 1 U.S.C. § 110}

I declare under penalty of perjury that: (1) 1 am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) 1 prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. $§ 110(b),
110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor. as required under that section; and (4) 1 will not accept any additional money or other property from
the debtor before the filing fee is paid in full.

Printed or Typed Name and Title. if any, of Bankruptcy Petition Preparer Social-Security No. (Required by 11 U.S.C. § 110.)
Ifthe bankruptcy petition preparer is not an individual, state the name, title (jfany), address, and sacial-security number of the officer, principal, responsible

person or parmer who signs sis dacumeni.

Address

x

Signature of Bankruptcy Petition Preparer Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
act an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form far each person.
A bankruptcy petition preparer's failure to comply with the provisions of Title LI and the Federal Rules of Bankruptey Procedure may result in
fines or imprisenment or both, 11 U.S.C. § £10; 18 U.S.C. § 156.

eck ck oR ho

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
I, named as debtor in this case, declare under penalty of perjury
that | have read the foregoing summary of scheduies, consisting of sheets (total shown on summary
page plus 1}, and that the are true and correct to the best of my knowledge, information, and belief.

Date Signature of Authorized Individual

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisionment for up to 5 years or both.
18 U.S.C. § 152 and 3571.

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B7(Official Form 704/43)

FORM 7, STATEMENT OF FINANCIAL AFFAIRS

UNITED STATES BANKRUPTCY COURT
District of New Jersey, Trenton Division

In Re: Case No.

Debior Gif known)
STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter [2 or chapter 13, a married debtor must furnish
information for beth spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole provrictor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs, To indicate payments. transfer and the like to minor children, state the child's initials and the name and address of the
child’s parent or guardian, such as "A.B., a minor child. by John Doe, guardian.” Do not disclose the child's name. See, Ef U.S.C.

§ 112 and Fed. R. Banke. P. 1007(m).
Questions t-18 are to be completed by all debtors. Debtors that are or have been in business. as defined below, also

must complete Questions 19-25. If the answer to an applicable question is "None", mark the box Labeled "Nonc".
If additional space is needed for the answer to any question, use and attach a separate sheet properly identifted with the case
name, case number (if known), and the number of the question.

DEFINITIONS

“In business.” A debtor is “in business” for the purpose of ibis form if the debtor is a corporation or partnership. An
individual debtor is “in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankeuptey case, any of the following: an officer, director. managing executive, or owner of 5 perce or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, ofa partnership; a sole proprietor or
sel employed full-time or part-time. An individual debtor also may be "in business” for the purpose of this form if the debtor
engages ina trade, business, or ather activity. other than as an employee, to supplement income from the debtor's primary
gnployment.

“Insider.” ‘The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives: corporations of which the debtor is an officer, director, or person in control; officers. directors, and any persons in
control ofa corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 1] ULS.C. § 101¢2), (313.

None [KX] 1. Income from employment or operation of business

State the ecoss amount of income the debtor has received from emptoymient, trade. or profession, or from operation of
the debtor's business. including part-time activities cilher as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calender year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is fited, unless the
spouses are separated and 2 joint petition is not filed.)

Amount Source

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2. Income other than from employment or operation of business

None —] State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
debtor's business during the two years immediately preceding the commencement of this case. Give particulars. Ifa
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

Amount Source

3. Payments ic creditors

None Complete a. or b., as appropriate, and c. /

Ee a. Individual or joint debtor{s) with primarily consumer debts: List all payments on loans, installment purchases
of goods or services, and other debts, aggregating more than $600 to any creditor, [except for a debt on account
of a domestic support obligation} made within 90 days imunediately preceding the commencement of this case,
Indeate with an * any payments that were made to the creditor on account of a domestic support obligation or as
part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counscling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

Dates of Amourit : Amount
Name and Address of Creditor Payments Paid Still Owing

None Bq — b, Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of ull property that
constitutes or is affected by such transfer is less than $6,255. [f the debtor is an individual, indicate with an asterisk {*)
any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counselig agency. (Married
debtors filing under chapter [2 or chapter 13 must include payments and other transfers by either or both spouses
whether or noi a joint petition is filed, unless ihe spouses are separated and a joint petition is not filed.

Dates of Payments/ Amount Paid or Amount
Name and Address of Creditor Transfers Value of Transfers Still Owing

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None [&] — c. All debtors: List all payment made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Macried debtors filing under chapter 12 or
chapter 13 must include payments by either or both spouses whether or not a joint petition is Aled, unless
the spouses are separated and a joint petition is not filed.)

Name and Address of Creditor Date Antount

Amount
and Relationship to Debtor of Payment Paid

Sal] Owing

4, Suits and administrative proceedings, executions, garnishments and attachments

None [Xj a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are :
separated and a joint petition is not filed.)

Caption of Suit

Court or Agency Status or
and Case Number

Natuec of Proceeding and Location Disposition

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None BJ b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

Name and Address of Person for Whose Date of Description and
Benefit Property was Seized Seizure Value of Property

5, Repossessions, foreclosures and returns

None {? List all property that bas been repossessed by a creditor. sold at a foreclosure sale, transferred through a deed in liew
of foreclosure or returned to the seller, within one year inmnediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether of nol a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Date of Repossession,

Name and Address of Foreclosure Sale, Description and Value
Creditor or Seifer ‘Transfer or Return of Properly

Case 13-30014-CMG Doci1 Filed 09/12/13 Entered 09/12/13 11: 26: 20 Desc
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6. Assignments and receiverships

None [] a. Describe any assignment of property for the benefie of creditors made within 120 days immediately preceding the
commencement of this case. (Married debtors ftling under chapter [2 or chapter 13 must include any assignment
by either or both spouses whether or not a joint petition is fited, unless the spouses are separated and a joint

petition is not filed.}
' Name and Address Date of ‘Terms of Assignment
of Assignee . Assignment or Settlement

None [J] b. List all property which has beea in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13

must include information concerning property of either or both spouses whether or not a joint petition is filed.

unless the spouses are separated and a joint petition is not fited.)
Name and Location of Court Description and
Date of Order Value of Property

Name and Address
Case Title & Number

of Custodian

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7. Gifts

None [X]___ List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating Jess than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Marned debtors filing under chapter 12 or
chapter 13 raust include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

Name and Address of Person Relationship to Description and
or Organization Debtor. ifany Date of Gift Value of Gift

8. Losses

None (1 List all losses trom fire, theft, other casually or gambling within one year immediately preceding the cominencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, untess the spouses are separated and a
joint petition is not filed.) Description of Circumstances and, if

Description and Value Loss was Covered in Whole ar in Part

of Property by Insurance, Give Particulars. Date of Loss

§, Payments related to debt counseling or bankruptcy

None [X] List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law of preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

Name and Address Date of Payment, Name of Amount of Money or Description
al Payee Payor if other than Debtor and Value of Property

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10. Other transfers

None [3] a. Listall other property, other than property transferred in the ordinary course of the business or financial altars of

the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of

this case. (Married debtors filing under chapter !2 or chapter 13 must include transters by either or both spouses

whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Name and Address of Transferree, . Desertbe Property Transferred
Relationship to Debtor Date and Value Received

None [>] — b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
case to 2 self-settled trust or similar device of which the debtor is a beneficiary.
Amount of Money or Description and Value

Name of Trust or Other Device Date(s) of Transfer(s) of Property or Debtor's Interest in Property

11. Closed financial accounts

None [XJ] List alll financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions. pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are

separated and a joint petition is not filed.)
Type of Account, Last Four
Digits of Account Number, Amount and Date of

Name and Address ct
and Amount of Final Balance : Sale or Closing

of Institution

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12. Safe deposit boxes

None [6 List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not fited.

Name and Address of Bank Names and Addresses of those with Date of Transfer
or Other Depository Access io Box or Depository Description of Contents or Surrender, if any

13. Setoffs

None [&X] List all setoffs made by any creditor. including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter {2 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint

petition is not filed.)

Name and Address of Creditor Date of Setoff Amount of Setoff

14. Property held for another person

None §X] List all property owned by another person that the debtor holds or cantrots.

Name and Address of Owner Description and Value of Property Location of Property

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15, Prior address of debtor

If the debtor has moved within the three years immediately preceding the commencement of this case. list all premises

None [x
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is

filed, report also any separate address of either spouse.
Address Name Used Dates of Occupancy

16. Spouses and former spouses

2] {f the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico. Puerto Rico. Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state.

None

Name

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17. Environmental information
For the purpose of this question, the following definitions apply:

“Environmental Law" means any federal, state, or local statute or regulation regulating poilution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other medium. including, but not limited to, statutes or regulations regulating the cleanup of these substances. wastes,

or praterial.

*Site* means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

Narte a. List the name and address of every site for which the debtor has received notice in writing by 2 governmental
¥ . te at a
unit chat it may be Hable or potentially Hable under or in viclation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law.

Name and Address of
Site Name and Address Governmental Unit Date of Notice Environmental Law

None Bq b. List the name and address of every site for which the debtor provided notice to. a governmental anit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

Name and Address of

Site Name and Address Governmental Unit Date of Notice Environmental Law

None [Bj c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party, Indicate the name and address of the governmental unit that is or
was a party [o the proceeding, and the docket number,

Name and Address of Governmental Unit Bocket Number Status or Disposition

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18. Nature, location and name of business

None [xX] 9 a. Ifthe debtor isan individual. list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses tn which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was a self-employed in a trade, profession, or
other activity either full- or part-time within the six-years immediately preceding the commencement of this case.
orin which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
preceding the commencement of this case.

if the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a pariner or owned 5 percent or more of
the voting or equity securities, within the six years immediately preceding the cammenecment of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or morc of
the voting or equity securities within the six years immediately preceding the commencement of this esae,

Name, Address, Last Four Digits of Soc, Sec, No. . Beginning and
Complete EIN or Other Taxpayer I.D. No. Nature of Business . Ending Dates

None [X] _ b, Identity any business listed in response to subdivision a., above, that is “single asset real estate” as
defined in 11 U.S.C. § 102,

Name Address

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The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor
who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an officer,
directory, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or otherwise selfemployed,

(An individual or joint debtor should complete this portion of the statement only if the debtor is or bas been in business, as
defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in business
within those six years should go directly to the signature page.) ,

19. Books, records and financial statements

None $4 a. Listall bookkeepers and accountants who within the two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

Name and Address Dates Services Rendered

None [] __ b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
have audited the books of account and records, or prepared a financial statement of this debtor.

Name and Address Dates Services Rendered

None c, List all diems or individuals who at the tine of the commencement of this case were in possession of the books of
account and records of the debtor. If any of the books of account and records are not available, explain.

Name and Address

None [x] — d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued within the two years immediately preceding the conmencement of this case by the debtor.

Name and Address Date Issued

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20. Inventories

None [XJ] a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking

of each inventory, and the dollar amount and basis of each inventory.
Amount of Inventory

Date of Inventory Inventory Supervisor (Specify cost, market or other basis)

3 b. List the name and address of the person having possession of the records of each of the two inventories
None PJ reporied in a., above.

Date of Inventory Name and Address of Custodian of Inventory Records

21. Current Partners, Officers, Directors and Shareholders

None [KX] a. if the debtor is a partnership, list the nature and percentage of partnership imterest of cach member of the
partnership.

Name aad Address Nature of interest Percentage af Interest

None (§&2 _ b. I the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
or indirectly owns, controls, or holds 5 percent or more of the voting securities of the corporation.
Nature and Percentage
Name and Address Title , of Steck Ownership

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22, Former partners, officers, directors and shareholders

None [J a. Ifthe debtor is a partnership, fist each memeber who withdrew from the parmership within one year immediately
preceding the commencement of this case.

Name and Address Date of Withdrawal

None BX] __ b. Ifthe debtor is a corporation, list alt officers, or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

Name and Address Title Date of Termination

23. Withdrawals from a partnership er distributions by a corporation

None 6] ___ ifthe debtor is a partnership or corporation, list all withdrawals or clistributions credited or given to an insider
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during
one year immediately preceding the commencement of this case.

Name and Address of Recipient. Amount of Money
Relationship to Debtor Date and Purpose of Withdrawal and Value of Property

24, Tax consolidation group

Nore J] Ifthe debtor is a corporation, lis! the name and federal taxpayer identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
immediately preceding the commencement of this case.

Name of Parent Corporation Taxpayer Identification Number

25. Pension funds

None [XJ] If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
which the debtor, a5 an employer, has been responsible for contributing at any time within the six-year period
immediately preceding the commencement of this case.

Name of Pension Fund Taxpayer Identification Number

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{If conrpleted by an individual or individual and spouse.]

I declare under penalty of perjury that I have read the answers contained in thy rorealy ig statement of financial affairs and any

attachments thereto and that they are true and correct. ' Ly

09/1 1/2013 x -
Date Signature of Debige

09/11/2013 x

Date Signature of Joint Debtor

[If completed on behalf of a partnership or corporation]

Edeclare under penalty of perjury that 1 have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct to the best of my knowledge, information and belief.

Date Signature of Authorized Individual

Printed Name and Titte

DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1} 1am a bankruptcy petition preparer as defined in 1f U.S.C. § 119; (2) E prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. 8 1 i0(b),
}10(h}, and 342(b); (3) if rules or guidelines have been promulgated pursuant to LL U.S.C, § 110(b) setting a maximum ite for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required under that section; and (4) 1 will not accept any additional money or other property from
the debtor before the filing tee is paid in full.

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No. (Required by 11 ULS.C. § 1103

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security aumber of the officer, principal, responsible

person or parmer who signs this docunent

Address

x

Signature of Bankruptcy Petition Preparer Date
Names and Social Security numbers of all other individaa!s who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
not an individual:
Ifmore than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Forin for each person.
A bankrupicy petition prepurer’s failure to comply with the provisions of Tile H and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both, 11 U.S.C. § E10; 18 U.S.C. § 156,

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UNITED STATES BANKRUPTCY COURT
District of New Jersey, Trenton Division
NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and cost of the four types of bankruptcy proceedings you may commence, and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankraptcy petition. In
order to ensure that receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are a filing a joint case (a single bankruptcy case for two
individuals martied to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and vour spouse will generally receive a single copy of each notice mailined from the bankruptcy court in a jomntly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices. ,

1, Services Available from Credit Counseling Agencies

With limited exceptions, § 109¢h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and prevides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankrupty
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the medium income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.

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Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes: domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations,
certain debts which are not propertly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $231)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The periud anuwed by ihe wouri luacuay your uobis thay Ue ilived years OF
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations, certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. lis
provisions are quite complicated, and any decision by an individual to file a chapter ]1 petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similiar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
who incomes arise primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankrupicy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

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WELLS FARGO BANK
FRENKEL LAMBERT WEISS
53 GIBSON STREET
BAYSHORE NY 11706

